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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION AT DETROIT


    UNITED STATES OF AMERICA,
                                                          CASE NO. 03-80694
                            Plaintiff,

                v.

    JOSE ANGEL FERRER [D-1],

                      Defendant.
    _____________________________________/

                               FINAL ORDER OF FORFEITURE

           This matter having come before the Court on the Application of the United States for

    entry of a Final Order Of Forfeiture, and the Court having reviewed the Application, being

    familiar with the pleadings filed in this action and taking into consideration the relevant

    portions of the record of the criminal case, the Court finds as follows:

           1. On June 13, 2005, this Court entered a Preliminary Order of Forfeiture, which

    forfeited the interest of Defendant Jose Angel Ferrer, in the following property:

           a.        Approximately $194,850 in United States currency;

           b.        Proceeds seized from Charter One Bank from accounts in the name of Sandra
                     Trevino Ferrer: $11,388.04 (Acct. No. 344-0534708) and $2,958.02 (Acct.
                     No. 387-0451718);

           c.        One 2000 Chrysler LHS, VIN 2C3HC56G6YH148998;

           d.        One 2000 Chevrolet Impala, VIN 2g1WF52E3Y9284345;

    to the United States, pursuant to Fed. R. Crim. Pro 32.2(c)(2) and 21 U.S.C. § 853.

           2. All of the above assets, with the exception of paragraph 1(a) (Approximately

    $194,950.00 in U.S. Currency), were administratively forfeited;
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            3. Pursuant to the Court’s October 27, 2004 Preliminary Order, and as required

    under 21 U.S.C. § 853, the United States published notice of the forfeiture in this action and

    its intent to dispose of the subject property on July 15, July 22, and July 29, 2005, in The

    Detroit Legal News, a newspaper of general circulation in this district. An Affidavit of

    Publication was filed with the Court on August 9, 2005. The published notice informed all

    third parties of their right to petition this Court for a hearing to adjudicate the validity of

    their alleged legal interest in the forfeited property.

            4. Additionally, all known parties with a possible interest in the forfeited property

    were notified of their right to petition this Court for a hearing to adjudicate the validity of

    their alleged legal interest in the forfeited property.

            5. No additional petitions have been filed in this matter and the time in which to do

    so has expired.

            NOW THEREFORE, IT IS HEREBY ORDERED that the right, title and interest of

    the Defendant, JOSE ANGEL FERRER, and all other persons, in the following property:

            a.        Approximately $194,850 in United States currency;

    is forfeited to the United States of America. Any right, title, or ownership interest of JOSE

    ANGEL FERRER, or his successors and assigns and any right, title, or ownership interest

    of all other persons in the subject property is hereby and forever EXTINGUISHED and all

    right, title and interest in the subject property is hereby VESTED in the United States of

    America.




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           IT IS FURTHER ORDERED, that the United States Marshal Service is authorized

    to take possession of, and to dispose of such property as authorized by law.

           IT IS SO ORDERED this 24th          day of August, 2005.



                                                 s/John Corbett O’Meara
                                                 HONORABLE JOHN CORBETT O'MEARA
                                                 United States District Judge




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